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                     FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

TURNBULL GROUP, LLC D/B/A TURNBULL                  )
AUTOMOTIVE,                                         )
                                                    )   Case No. 1:16-CV-646
               Plaintiff,                           )
                                                    )   Hon. Anthony J. Trenga
                                                    )
  vs.
                                                    )
                                                    )   Magistrate Judge Ivan D. Davis
CARFAX, INC.,                                       )
                                                    )
               Defendant.

                            PLAINTIFF’S NOTICE OF APPEAL

        Notice is hereby given that Plaintiff Turnbull Group, LLC d/b/a Turnbull

Automotive appeals to the U.S. Court of Appeals for the Fourth Circuit from the Order

(Doc. # 31) granting Defendant’s Motion to Dismiss entered in this case on September 2,

2016.


Dated: October 3, 2016                    Respectfully submitted,

                                          /s/ John S. Moss, Jr.__________________
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                           CERTIFICATE OF SERVICE

       On October 3, 2016, the foregoing was filed with the Clerk of Court using the
CM/ECF system, which will automatically send electronic notice of such filing to the
following counsel of record:

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                                        /s/ John S. Moss, Jr.
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